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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

 In re:                                        )
                                               )
 DERRICK J. MARTIN, JR.                        )     Case No. 18-14487-KHT
 SSN: XX-XXX-1032                              )
                                               )     Chapter 7
 Debtor.                                       )
                                               )
 DAVID V. WADSWORTH, Chapter 7                 )
 Trustee                                       )
                                               )
 Plaintiff,                                    )     Ad. Pro. No.: 18-01413 KHT
                                               )
 v.                                            )
                                               )
 TWO RINGS PROPERTY                            )
 MANAGEMENT, LLC, a Colorado                   )
 Limited Liability Company                     )
                                               )
 Defendant.                                    )
                                               )

                         NOTICE OF SUBSTITUTION OF COUNSEL


         COMES NOW, Lawrence R. Hill, #17447, who notifies this Court and all parties in
interest that he withdraws as Debtor’s attorney of record in this case.

Attorney Robert V. Salter, #36820, hereby enters his appearance as Debtor’s attorney of
record in this case. All communication(s) should be directed to:

Robert V. Salter, #36820
Allstate Law Center, P.C.
12835 E. Arapahoe Road
Tower I, Suite 200
Centennial, CO 80112
(720) 500-3333
roberts@allstatelawcenter.com


Respectfully submitted this 30th day of May, 2019.
\s\ Robert V. Salter                                       \s\ Lawrence R. Hill________
Robert V. Salter, #36820                                   Lawrence R. Hill
Allstate Law Center, P.C.
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